   Case: 1:19-cr-00567 Document #: 334 Filed: 09/14/22 Page 1 of 1 PageID #:2488




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

                                               )
                USA                            )               Case No: 19 CR 567 - 1
                                               )
                v.                             )               Judge: Harry D. Leinenweber
                                               )
                Robert Sylvester Kelly         )
                                               )


                                              ORDER

Deliberations concluded. Trial ends - jury as to defendant Robert Sylvester Kelly. The jury
returns the verdict as follows: Defendant Robert Sylvester Kelly has been found guilty as to
Counts I, II, III, IX, X, XII of the indictment, and not guilty as to Counts IV, V, VI, VII, VIII, XI,
and VIII of the indictment. Judgment of guilty entered on the verdict. Cause is referred to
probation department for the preparation of a presentence investigation report. The probation
office shall disclose the sentencing recommendation to the parties. Post trial motions shall be
filed by 11/1/22, responses by 11/15/22. The Court will rule by mail. Sentencing set for 2/23/23
at 10:00 a.m.

(T:01:00)

Date: 9/14/22                                                  /s/ Judge Harry D. Leinenweber
